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 6                          UNITED STATES DISTRICT COURT
 7                        NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO, DIVISION
 8

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       ---------------------------------:
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        SALOOJAS INC,                          : CASE NO: 22-CV-01696-JSC
11              Plaintiff                    :    OPPOSITION TO DEFENDANT’S
12                                           :    MOTION TO DISMISS
                vs.                          :
13                                           :
14    AETNA HEALTH OF CALIFORNIA, INC :           U.S. Magistrate Judge Jacqueline Corley
                                              :   Date: April 28. 2022
15               Defendant.                   :   Time: 9:00 A.M.
      ______________________________________ :    Location: Courtroom E, 15th Fl
16
          PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION
17

18                    TO DEFENDANT’S MOTION TO DISMISS
          ______________________________________________________________
19

20                    LAW OFFICE OF MICHAEL LYNN GABRIEL
21                            MICHAEL LYNN GABRIEL
                                    CA Bar 86924
22
                                 Attorney for Plaintiff
23                               1563 Stevenson Blvd
24                                Newark, CA 94560
25                                   650-888-9189

26                                   510-656-5700
                                  aetal@earthlink.net
27
                               migabriel@saloojasinc.com
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            Plaintiff Saloojas, Inc, dba AFC Urgent care of Newark, submits this Memorandum
 1

 2    of Law in Opposition to Defendant Aetna Healthcare of California’s Motion to Dismiss.

 3     I.    INTRODUCTION

 4           In late March of 2020, America’s worst pandemic in over 100 years, the COVID-
 5
      19 outbreak, was ravaging the country. In response, the United States Congress and the
 6
      President of the United States agreed that immediate and drastic action was necessary.
 7
      Because the disease was easily spread by an infected person, even before symptoms
 8
      developed, any effort to contain the disease required testing as many Americans as
 9

10    possible to identify the infected to provide prompt treatment. Further, rapid testing was

11    needed so that infected people would quarantine themselves and not infect others with the
12    highly communicable disease. In pursuit of this goal, the Government took the
13
      extraordinary step of enacting a pair of statutes to reduce the pandemic’s harm by ensuring
14
      that any person who needed a test could get one.
15

16           Congress addressed both of these concerns in the Families First Coronavirus

17    Response Act (“FFCRA”) and the CARES Act. Taken together, these statutes required all
18    health insurance plans to cover COVID-19 testing with no out of pocket expenses to
19
      patients. The acts sought to make certain that no person would have to consider the
20
      economic cost of getting tested, and so co-payments, deductibles, and co-insurance were
21
      prohibited. But removing barriers that might discourage patients from getting tested was
22

23    only part of the goal – Congress also needed to persuade practitioners to participate and

24    invest in establishing testing centers that would test anyone. This included making sure

25    that providers would not turn away patients who had insurance coverage, but the coverage
26
      was through a plan in which the provider was not a contracted participant, i.e., was “out-
27
      of-network.” So Congress addressed both in-network and out-of-network providers
28
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       directly, requiring plans to cover testing from out-of-network providers on the same terms
 1

 2     as from in-network providers: no out of pocket expenses, no co-payments, no deductibles.

 3          Congress recognized, however, that plans often pay very little to out-of-network

 4     providers, something they do to incentivize their members to use in-network providers
 5
       who have agreed by contract to accept discounted rates. In order to prevent providers from
 6
       declining to provide testing services to patients who were out-of-network with respect to
 7
       the providers, Congress set out a specific reimbursement protocol for out-of-network
 8
       providers: plans were required to pay them their cash price, unless a lower negotiated
 9

10     price was agreed to.

11
               Dr. Parmjit Singh and the Plaintiff were among the earliest pioneers in the effort,
12
       establishing testing centers and providing around the clock opportunities for residents of
13
       Northern California to protect themselves and their families by getting tested. Dr. Singh’s
14
       efforts, included testing over 35,000 patients and providing no-cost testing to over 3,000
15

16     uninsured patients, was hailed by local leaders such as the Mayor of Newark, California.

17
               In its response to the national emergency, Aetna did not embrace the coordinated
18
       approach to testing developed by Congress. Rather, Aetna looked to protect their bottom
19
       line and engaged in a campaign to undermine and circumvent federal policy and federal
20

21     law as reflected in the FFCRA and the CARES act, as well as the guidance issued by

22     federal agencies. Aetna has routinely refused to honor its coverage obligations under the

23     federal legislation and has instead repeatedly refused to pay providers, like the Plaintiff
24     for services federal law requires Aetna to reimburse.
25
               Most shocking, however, is that when challenged, Aetna’s response is essentially,
26

27     “tough luck – there is nothing you can do about it.” In this action, Aetna actually makes

28     the argument that even if federal law requires them to reimburse the Plainitff for testing
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       and related services (which it undoubtedly does), and even if Aetna wrongfully refused to
 1

 2     reimburse the Plaintiff for the testing services provided to Aetna members (which they

 3     undoubtedly did), there is nothing that can be done. In essence, Aetna contends that they

 4     are entitled to treat a binding federal statute as an option, something they can comply with
 5
       or not as they see fit, but something that there is little or no consequence for disobeying
 6
       and that this is precisely what Congress wanted.
 7

 8            The Plaintiff brings this action to hold Aetna responsible for their not only illegal

 9     and irresponsible response to the pandemic and to federal efforts to combat it, but for the

10     sheer arrogance of their assertion that Aetna is above the law.
11
       II.     STATEMENT OF RELEVANT FACTS
12
               A.         The Parties
13

14            Plaintiff Saloojas, Inc, is a corporation organized under California law. The
15     mission of the Plaintiff is to provide high-quality preventive and general health services,
16
       as well as acute primary care, to men, women, and adolescents. The Plaintiff accomplishes
17
       its mission by offering various Covid preventive medical services.
18

19            Defendant Aetna Healthcare of California, Inc. is a California corporation.

20
              B.          The CARES ACT
21

22            Congress in early 2020 when the COVID pandemic was just starting wanted to be

23     sure that all Americans had access to COVID Testing Services. Congress passed the

24     federal Cares Act Covid testing provisions, which are set forth below:
25
              SEC. 6001. COVERAGE OF TESTING FOR COVID–19.
26
                    (a)
                    IN GENERAL.—A group health plan and a health insurance issuer
27
                    offering group or individual health insurance coverage . . . shall
28                  provide coverage, and shall not impose any cost sharing (including
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                         deductibles, copayments, and coinsurance) requirements or prior
 1                       authorization or.other medical management requirements, for the
 2                       following items and services furnished during any portion of the
                         emergency period beginning on or after the date of the enactment of
 3                       this Act:

 4                       (1)     In vitro diagnostic products. . . for the detection of SARS–
                                 CoV–2 or the diagnosis of the virus that causes COVID–19
 5
                                 that are approved, cleared, or authorized and the administration
 6                               of such in vitro diagnostic products.
                                 (emphasis added).
 7
           The CARES Act then states:
 8
                  SEC. 3202. PRICING OF DIAGNOSTIC TESTING.
 9

10                (a)     REIMBURSEMENT RATES.—A group health plan or a health
                         insurance issuer providing coverage of items and services described in
11                       section 6001(a) of division F of the Families First Coronavirus
                         Response Act (Public Law 116–127) with respect to an enrollee shall
12                       reimburse the provider of the diagnostic testing as follows:
13
                         (1)      If the health plan or issuer has a negotiated rate with such
14                               provider in effect before the public health emergency declared
                                 under section 319 of the Public Health Service Act (42 U.S.C.
15                               247d), such negotiated rate shall apply throughout the period of
                                 such declaration.
16
                         (2)     If the health plan or issuer does not have a negotiated rate with
17                               such provider, such plan or issuer shall reimburse the provider
                                 in an amount that equals the cash price for such service as
18                               listed by the provider on a public internet website, or such
19                               plan or issuer may negotiate a rate with such provider for less
                                 than such cash price.
20
                  (b)    REQUIREMENT TO PUBLICIZE CASH PRICE FOR
21                       DIAGNOSTIC TESTING FOR COVID–19.—
22                       (1)     IN GENERAL.—During the emergency period declared under
23                               section 319 of the Public Health Service Act (42 U.S.C. 247d),
                                 each provider of a diagnostic test for COVID–19 shall make
24                               public the cash price for such test on a public internet website
                                 of such provider
25
           Since the passage of the CARES ACT , 971,162 have died of Covid in the United
26

27     States almost 1 out of every 350 people have died because of Covid, 86,794 have died in

28     California of Covid and 2,243 have died of Covid in Alameda county alone.
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             C.      To Combat The National Pandemic, The Plaintiff Created
 1                   Testing Sites At The Very Start Of The Pandemic
 2
             In early 2020 the COVID-19 pandemic quickly set upon the United States. Due to
 3
      the hyperbolic onset of COVID-19, California, and the rest of the country, were
 4
      unprepared in many critical aspects.
 5

 6           One glaring issue was the lack of COVID-19 testing. Dr. Singh was one of the first
 7
      to assist in the fight against COVID-19 and assist the people of Northern California to
 8
      address the desperate need for timely COVID-19 testing.
 9

10           Not surprisingly, this drastic and immediate change required that the Plaintiff

11    invest hundreds of thousands of dollars to transform its traditional medical practice to set
12    up COVID-19 testing site for walk in patients. These sites – which were erected virtually
13
      overnight – were designed to provide efficient drive and/or walk-through COVID-19
14
      testing to patients with symptoms or suspected exposure. This was the first line of defense
15
      against the pandemic. The Plaintiff operated drive and/or walk-through COVID-19
16

17    testing site in Newark, California.

18           In addition to creating the physical infrastructure for the testing sites, the
19
      Plaintiff       had to assemble the clinical and administrative staff needed to operate the
20
      sites. Similarly, it had to develop extensive protocols and procedures to ensure the sites
21
      were effectively and efficiently operating, and that all safety, infection control, OSHA,   and
22

23    CDC guidance were observed. Dr. Singh and his efforts to drastically increase testing in

24    the area were a key and valuable part of the population’s defenses against COVID-19.

25
              D.          Due To The Need For Immediate And Efficient Testing,
26                        Congress Enacted The FFCRA And CARES Act So Patients
                          Could Get Easily Get Tested And Providers Would Be Fairly
27                        Compensated During The National Pandemic
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             On January 31, 2020, a public health emergency was declared. Unprepared to fight
 1

 2    the COVID-19 pandemic, Congress enacted legislation to help the country fight the virus.

 3    Congress has allowed patients to have access to a COVID-19 test that was provided by a

 4    practice that was not in the patient’s insurance network. The FFCRA and the CARES Act
 5
      apply to COVID-19 testing, antibody testing, and related services rendered by both “in-
 6
      network” and “out-of-network” providers (those who don’t have a contractual relationship
 7
      with the insurer). This was done despite the usual practice that insurers seek to dissuade
 8
      their members from using “out-of-network” providers, as a cost saving measure.
 9

10           Both the FFCRA and the CARES Act addressed how insurers were required to
11
      reimburse both “in-network” and “out-of-network providers.”             In a section titled
12
      “ACCESS TO HEALTH CARE FOR COVID-19 PATIENTS,” the CARES Act added a
13
      requirement that health plans covered by the FFCRA “shall reimburse the provider of
14
      the diagnostic testing as follows . . .” for covered tests and services. The Act then set
15

16    forth alternative methods to calculate the actual payment amounts health plans were

17    required to pay providers for testing and other services. Importantly, the Act addressed
18    payment for services provided by “out-of-network” providers and “in-network” providers.
19
             To be more precise, under the legislation, if the patient’s plan already had a
20
      negotiated rate with the provider, i.e., the provider was “in-network,” the plan had to pay
21
      that negotiated rate. Furthermore, the Act also addressed the payment requirements for
22

23    providers who did not have a negotiated rate, i.e., “out-of-network providers.” Insurers

24    must pay “out of network” providers their full cash price for the test unless the insurer can

25    negotiate a lower rate with the provider. In addition to reimbursing providers for the
26    COVID tests, insurers must reimburse providers for other related tests, items, and services
27
      furnished during a visit that results in an order for a COVID-19 or COVID-19 antibody
28
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 1
      test. Aetna’s refusal to pay for rendered COVID testing services are expressly prohibited.
 2

 3            Although a few payments have been made, as of now, the amount owed to the

 4    Plaintiff for its rendered covid testing services Aetna still owes more than $1 million

 5    dollars. Aetna has denied reimbursement for COVID-19 testing and testing-related
 6    services for thousands of Aetna’s members or beneficiaries.
 7
       II.      LEGAL STANDARD
 8
                A motion to dismiss under Rule 12(b)(6) must be decided on “facts stated on the
 9
      face of the complaint, in documents appended to the complaint or incorporated in the
10

11    complaint by reference, and matters of which judicial notice may be taken.” Leonard F. v.

12    Israel Disc. Bank of N.Y., 199 F.3d 99, 107 (2d Cir. 1999). In deciding a motion to
13    dismiss, well-pleaded facts must be accepted as true and considered in the light most
14
      favorable to the Plaintiff. Patane v. Clark, 508 F.3d 106, 111 (2d Cir. 2007). The issue
15
      in deciding a motion to dismiss is “not     whether the plaintiff will ultimately prevail but
16
      whether the plaintiff is entitled to offer evidence to support the claims.” Villager Pond,
17

18    Inc. v. Town of Darien, 56 F.3d 375, 378 (2d Cir. 1995).

19     III.          ARGUMENT
20
                A.     The Plainitff Has An Implied Private Right Of Action Under Both
21                     The FFCRA And The CARES Act
22
                In their Motion, Aetna attempts to circumvent federal law by arguing that there is
23
      no private right of action under the FFCRA or the CARES Act, requiring dismissal of
24
      Plaintiff’s Complaint In fact, a private right of action can readily be inferred from the
25

26    language and context of the FFCRA and the CARES Act establishing the Plaintiff’s right

27    to reimbursement for the COVID testing services it provided.

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              The question of whether a federal statute contains an implied private right of action
 1

 2    is “basically a matter of statutory construction.” Transamerica Mortg. Advisors, Inc.

 3    (TAMA) v. Lewis, 444 U.S. 11, 15 (1979). The Supreme Court has enumerated several

 4    factors that are relevant to this analysis, including:
 5
           (1) whether the plaintiff is “one of the class for whose especial benefit the statute
 6
      was enacted”;
 7

 8            (2) whether there is “any indication of legislative intent, explicit or implicit,

 9    either to create such a remedy or to deny one”;

10            (3) whether a private right of action is “consistent with the underlying purposes of
11
      the legislative scheme”; and
12
              (4) whether “the cause of action [is] one traditionally relegated to state law, in an
13
      area basically the concern of the States, so that it would be inappropriate to infer a cause of
14
      action based solely on federal law.” Cort v. Ash, 422 U.S. 66, 78 (1975); Republic of Iraq
15

16    v. ABB AG, 768 F.3d 145, 170 (2d Cir. 2014) (“To ‘illuminate’ this analysis, we also

17    consider factors enumerated in Cort v. Ash”) (internal citation omitted)); see also M.F. v.
18    State of New York Exec. Dep’t Div. of Parole, 640 F.3d 491, 495 (2d Cir. 2011) (courts in
19
      the Second Circuit continue to apply the factors set forth in Cort in order to discern
20
      congressional intent to provide a private right of action); Lindsay v. Ass’n of Prof’l Flight
21
      Attendants, 581 F.3d 47, 52 n.3 (2d Cir. 2009) (same).
22

23            The FFCRA and the CARES Act plainly create a benefit for the class of persons of

24    which the Plaintiff is a member: out-of-network providers who furnish COVID testing. The

25    statute straightforwardly directs insurers like Aetna to pay out-of-network providers who
26
      furnish COVID-19 testing. Importantly, the statutes go further, describing how the amount
27
      such providers must be paid will be calculated. It states that “such plan or issuer shall
28
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      reimburse the provider in an amount that equals the cash price for such service as listed by
 1

 2    the provider on a public internet website . . .” This provision “grant[s] private rights to

 3    members of an identifiable class.” Transamerica Mortg. Advisors, Inc. (TAMA) v. Lewis,

 4    444 U.S. at 24. Unlike the provision found insufficient to create a private right of action in
 5
      Transamerica, this one “create[s] or alter[s] any civil liabilities.” Id at 19.
 6
          With respect to the second factor to be considered, there appears to be limited extrinsic
 7

 8    evidence of legislative intent one way or the other on the issue of a private cause of action

 9    with respect to the particular provisions at issue here, other than the language used. But the

10    language used reflects a legislative intent that is in fact consistent with providing a private
11
      right of action because Congress specifically identified a discrete group and then used
12
      language giving that group a right to reimbursement. It is only logical to assume that if the
13
      group is denied the right granted to it by Congress, they will have a remedy.
14

15        In fact, one example of the difficulties caused by the rushed adoption of the FFCRA
16    and the CARES Act will be discussed below – the failure of Congress to provide a
17
      reimbursement calculation method for any period where the provider did not publish their
18
      cash price on the website. This was the case at the Plaintiff for a period of time, and it was
19
      undoubtedly the case elsewhere as providers scrambled to line up staff, equipment, and
20

21    supplies sufficient to safely and effectively address the pandemic. But the relevant CARES

22    Act provisions are silent about what happens when no cash price is listed on the website.

23        Moreover, if there were no private right of action, patients and medical providers
24    would be left remediless. The statute intended to prevent medical providers from directly
25
      billing the patients here, but that is apparently what Aetna wants. This is inappropriate.
26
      Franklin v. Gwinnett County Pub. Schs., 503 U.S. 60, 76 (1992) (finding private right of
27

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      action for money damages under Title IX because administrative process would leave
 1

 2    complainant “remediless”).

 3           In the face of the compelling arguments in favor of interpreting Part II, Subpart A,
 4
      Section 3201 of the CARES Act as creating a private cause of action for out-of-network
 5
      providers of COVID-19 related testing and services, Aetna contends that the Act contains
 6
      no statutory language focused on protecting private rights. But this is simply inaccurate.
 7

 8    As described above, the statutory provision at issue, 3201, protects the rights of out-of-

 9    network providers for reimbursement for rendered COVID testing services.

10           The law is clear that the existence of an alternative method of enforcement is not
11
      fatal to the existence of a private right of action. As the Second Circuit has explained, when
12
      concluding that an implied private right of action exists despite the presence of alternative
13
      enforcement avenues, “the provision of other (private or public) enforcement mechanisms
14
      (Bellikoff factors (i) and (ii)) merely “suggests” “that Congress intended to preclude”
15

16    implied private rights of action.” Oxford Univ. Bank v. Lansuppe Feeder, LLC, 933 F.3d 99, 106

17    (2d Cir. 2019) (citing Alexander v. Sandoval, 532 U.S. 275, 290).
18           Here, as in Oxford Univ. that “suggestion” is not particularly persuasive. The
19
      federal agencies are only empowered to fine Aetna for non-compliance. They are not
20
      empowered to protect the very specific right that the Plaintiff seeks to vindicate – their
21
      right to payment for services provided. Notably, Aetna does not make any suggestion that
22

23    agency enforcement would alleviate the situation where a provider such as the Plaintiff

24    stands to lose millions of dollars because they trusted the promise of the CARES Act that

25    insurers “shall reimburse the provider” of COVID-19 testing services. As a result, closing
26    the courthouse door to the Plaintiff, because a federal agency might take some undescribed
27
      enforcement action, would leave the Plaintiff uncompensated and in severe financial
28
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      distress, and is utterly inconsistent with the clear legislative intent of the statute. Despite
 1

 2    diligent searching, Plaintiff could not find evidence of a single instance of DOL

 3    Enforcement of the testing provisions of the CARES Act.

 4
                  Finally, Aetna cites cases rejecting attempts to privately enforce “various
 5
      provisions” of the 300+ page CARES Act. However, these cases are all inapposite because
 6
      not one of them addresses the specific provision of the CARES Act that the Plaintiff seeks
 7

 8    to enforce in this case. As noted, the CARES Act is over 300 pages of legislation of which

 9    two pages are devoted to COVID-19 testing. The bulk of the Act addresses economic

10    relief and stimulus programs. We do not contend that the CARES Act authorizes private
11
      actions to enforce all or even most of its provisions. None of the cases cited by Aetna
12
      remotely addresses the issue before the Court – whether Part II, Subpart A, Section 3201
13
      of the CARES Act permits out-of- network providers to sue insurers to collect payments
14
      the Act entitles them to. Instead, the cases cited by Aetna concern payroll protection loans
15

16    and other legislation to assist small businesses. Am. Video Duplicating, Inc. v. City Nat'l

17    Bank, No. 20-cv-04036, 2020 WL 6882735, at *1 (C.D. Cal. Nov. 20, 2020) (concerns
18    Paycheck Protection Program and the right of an agent to collect fees). None of the
19
      barriers these courts cited to recognition of a private right of action have any impact on the
20
      issues in this case.
21

22        B.     A PRIVATE RIGHT OF ACTION EXISTS UNDER THE CARES ACT

23           This decision will probably be the most important that this Court will ever issue.
24    Certainly none will ever affect as many people as this one may. It is not axiomatic or
25
      hyperbole to state that this decision may be read by the US Supreme Court.
26
          There have been as of this moment in history only 2 cases addressing whether an out
27
      of network provider can bring a private suit for nonpayment under the Federal CARES
28
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      Act. There is now a split in the jurisdictions. The rule is that a private right of action does
 1

 2    not exist unless Congress grants it or it is implied by the nature of the legislation

 3       The Texas District Court in Diagnostic Affiliates of Northeast Houston, LLC vs.

 4    United HealthCares Services, Jan 19, 2022, Civ Act found that a private right of action
 5
      exists while in Murphy Med.Asso, LLC vs Cigna Health & Life Ins. Co 2022 U.S. Dist.
 6
      LEXIS 43351, the Connecticut Court held that a private right of action did not exist
 7
      because essentially it was not expressly stated by Congress. The Connecticut Court
 8
      mentioned the Texas case but did not fully address it.
 9

10       This Court’s decision will be the tie breaker. This Court’s will go to both the Texas

11    and Connecticut Courts and be submitted as will to their full appellate courts when they

12    rehear the issues en banc. From there, this court’s decision may go to the US Supreme
13
      Court as part of the record.
14
          The US Supreme Court in a case nearly identical issue of whether Congress imposed
15
      a liability and obligation to pay under the Patient Protection and Affordable Care Act and
16
      which was relied upon by the Texas court MAINE COMM. HEALTH v. US MOD.
17

18    HEALTH PLAN, INC. 140.S.Ct. 1320, 1320 (2020) held:

19       “Congress can also create an obligation directly by statute, without also providing
          details about how it must be satisfied. Consider, for example, United States v.
20        Langston, 118 U.S. 389,         6 S.Ct. 1185, 30 S.Ct. 164 (1886). In that case,
21        Congress had enacted a statute fixing an official's annual salary at "$7,500 from
          the date of the creation of his office."Id.,at 394, 6 S.Ct. 1185. Years later, however,
22        Congress failed to appropriate enough funds to pay the full amount, prompting the
          officer to sue for the remainder. Id., at 393, 6 S.Ct. 1185. Understanding that
23        Congress had created the obligation by statute, this Court held that a subsequent
          failure to appropriate enough funds neither "abrogated [n]or suspended" the
24        Government's pre-existing commitment to pay. Id., at 394, 6 S.Ct. 1185. The Court
25        thus affirmed judgment for the officer for the balance owed. Ibid.5 “

26             The Texas Court looked at this US Supreme Court case and concluded that

27     Congress intended to impose the liability on insurance companies for payment to out of
28
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        network providers such as Plaintiff for their rendered Covid testing services. The issue
 1

 2      was then to decide whether there was also an implied private right of action giving such

 3      out of network providers the ability to sue for nonpayment under the CARES Act.

 4         To then make the decision as to whether a private right of action existed, the Texas
 5
        Court then went on to apply the Supreme Court test as set forth in Cort v Ash 78 (1975)
 6
        for determining whether a private right of action was implied:
 7
             The Supreme Court identified four factors to consider in answering this question:
 8
            “In determining whether a private remedy is implicit in a statute not expressly
 9
            providing one, several factors are relevant. First, is the plaintiff ‘one of the class
10          for whose especial benefit the statute was enacted,’—that is, does the statute
            create a federal right in favor of the plaintiff? Second, is there any indication of
11          legislative intent, explicit or implicit, either to create such a remedy or to deny
            one? Third, is it consistent with the underlying purposes of the legislative scheme
12          to imply such a remedy for the plaintiff? And finally, is the cause of action one
            traditionally relegated to state law, in an area basically the concern of the States,
13
            so that it would be inappropriate to infer a cause of action based solely on federal
14          law? Cort v. Ash, 422 U.S. 66, 78 (1975) (citations omitted).

15         The Court later modified the rubric as follows:
16         It is true that in Cort v. Ash, the Court set forth four factors that it considered
           “relevant” in determining whether a private remedy is implicit in a statute not
17
           expressly providing one. But the Court did not decide that each of these factors is
18         entitled to equal weight. The central inquiry remains whether Congress intended to
           create, either expressly or by implication, a private cause of action. Indeed, the
19         first three factors discussed in Cort—the language and focus of the statute, its
           legislative history, and its purpose—are ones traditionally relied upon in
20         determining legislative intent.
21
           Touche Ross & Co. v. Redington, 442 U.S. 560, 575–76 (1979) (citations
22         omitted). This Court considers the four factors and weighs them consistent with
           Touche Ross. Precedent.”
23
               The Texas court in its Diagnostic decision applied the Supreme Court’s test and
24
        concluded that a private right of action existed for an out of network provider so as to be
25
        able to sue to enforce the CARES Act. In comparison. the Connecticut court barely
26

27      discussed the Supreme Court test and ruled instead on the basic premise that unless the

28      Congress gives a private right of action it does not exist.
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                 In opposition to the Texas court, the Connecticut court in Murphy Medical
 1

 2     declined to find a private cause of action. Although this holding is contrary to the claim

 3     and position asserted by the Plaintiff and adopted by the court in Diagnostic Affiliates,

 4     we are bringing this opinion in Murphy Medical to your attention in recognition of the
 5
       duty of candor and desire to inform the Court of potentially pertinent developments in
 6
       this new area of the law.
 7

 8             Plaintiff respectfully submits that Murphy Medical decision is not persuasive for

 9     the following reasons:

10
          1.       The Murphy Medical decision does not address and analyze each of the four
11
       Cort factors, whereas the opinion in Diagnostic Affiliates, and GS Labs’ briefing in this
12
       matter, explains why each and every one of the four Cort factors supports the existence of
13

14     an implied private cause of action in CARES Act § 3202(a).

15
          2.        The court reasoned that plaintiff in Murphy Medical        decision failed to
16
       identify “anything in the text or structure of the CARES Act which suggests that
17
       Congress intended to afford them with a privately enforceable remedy.” By comparison,
18

19     Plaintiff has identified in extensive detail why the text and structure of the CARES Act

20     shows that Congress intended to provide a privately enforceable reimbursement remedy

21     in favor of diagnostic testing providers.
22
          3.   Plaintiff in the Murphy Medical case argued primarily that “Congress’s silence
23
       was merely a product of its rush to create legislation in the midst of the pandemic.” Here,
24

25     by contrast, Plaintiff has advanced numerous facts showing the text, purpose, legislative

26     history, and historical Congressional action in this area of interstate concern all support

27     finding a private cause of action. Indeed, in deciding Murphy Medical, the court appears
28
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       to have couched its holding by implying plaintiff in that case may have been able to
 1

 2     successfully plead “factual allegations demonstrating that the FFCRA and CARES Act

 3     incorporate[s] a private right of action.” That is exactly what Plaintiff has done in

 4     pleading its claim in this case.
 5
           4.       The Murphy Medical court observed, without actually deciding, that the
 6
       plaintiff testing provider before it may not be “remediless” because the Secretaries of
 7

 8     Labor, Health and Human Services, and the Treasury suggested in FAQs, Part 43 that

 9     their Departments would enforce the FFCRA and CARES Act in conjunction with states.

10     However, the mere suggestion that state or federal agencies might one day attempt to
11
       enforce CARES Act § 3202(a) of their own volition does not change the fact that
12
       Congress did not authorize them to do so, and that state and federal agencies have in fact
13
       not attempted to do so.
14

15                                             CONCLUSION
16
           Based upon the foregoing, it should be found that an implied Congressional private
17
       right of actions exists under the CARES Act. This private right of action gives to all out
18

19     of network providers who render Covid Testing Services, such as the Plaintiff, the ability

20     to sue in their own right to redress of any violation of the CARES Act.

21
                As such, this Court has both the authority to hear and the jurisdiction to decide any
22
       private action brought for any alleged violation of the Federal CARES Act.
23
                                           `       Respectfully submitted
24

25     Dated April 2 , 2022                        Law Office of Michael Lynn Gabriel

26                                                 _/s/ Michael Lynn Gabriel
                                                   Attorney For Plaintiff
27

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